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                 Exhibit B
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15
                                 UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                    SAN FRANCISCO DIVISION
18

19   ORACLE AMERICA, INC.                       Case No. 3:10-cv-03561-WHA

20                 Plaintiff,                   Honorable Judge William Alsup
21          v.                                  DEFENDANT GOOGLE INC.’S
22                                              RESPONSES TO PLAINTIFF’S
     GOOGLE INC.                                INTERROGATORIES, SET ONE
23
                   Defendant.
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 1                  copying of the memory space of the master runtime system process until the child
 2                  runtime system process needs to modify the referenced memory space of the
 3                  master runtime system process,” or other elements citing similar functionality.
 4          Google reiterates that the above contentions are being made very prematurely and in view
 5   of inadequate disclosures by Oracle, as well as in advance of any claim construction rulings.
 6   Google reserves the right to amend and supplement this response as it gains more insight into
 7   Oracle’s contentions, as well as after any claim construction order.
 8   INTERROGATORY NO. 4:
 9          Please explain the factual and legal bases for Google’s pleading of its third affirmative
10   defense: Patent Unenforceability (Waiver, Estoppel, Laches).
11   RESPONSE:
12          In addition to its General Objections, Google objects to this Interrogatory as it seeks
13   information protected by the attorney-client privilege, the work product doctrine, and/or any
14   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
15   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
16   information. Google further objects to the request to “explain” factual bases as vague and
17   ambiguous. Google further objects to any implication in this Interrogatory that Google has any
18   burden beyond what is required by any applicable statute or case law. Google further objects to
19   any implication that the theories of patent unenforceability included under this heading in
20   Google’s Answer and Counterclaims necessarily share common factual or legal bases. Google
21   further objects to extent that certain factual contentions involved in the pleading of these theories
22   were made “upon information and belief” that, after a reasonable opportunity for further
23   investigation, Google would likely have evidentiary support. Google has made discovery
24   requests related to this defense but has not yet received responsive information. Inclusion of
25   Oracle’s allegations in the list of facts in this response does not mean that Google agrees with the
26   veracity of the allegation, but merely references the fact that particular allegations were made.
27   Google expressly maintains all objections made in responsive pleadings. Google further objects
28   to this Interrogatory as unnecessary in view of the specific disclosures contemplated by the

                                                      12
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 1   Patent Local Rules as well as premature at least because claim terms have not been construed
 2   and any response herein is made in view of the lack of certainty with respect to the resolution of
 3   the meaning of claim terms.
 4          Subject to the foregoing objections and the General Objections, without waiver or
 5   limitation thereof, Google states that the following facts relevant to this defense were in its
 6   possession or accessible to Google at the time it pleaded this defense in its Answer and
 7   Counterclaims:
 8   x   Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
 9   x   Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
10   x   Allegations contained in presentation materials received from Oracle pursuant to Rule 408 of
11       the Federal Rules of Evidence.
12   x   The patents-in-suit and their prosecution histories.
13   x   Publicly available documents with information regarding the statements and actions of
14       Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
15       paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
16       Counterclaims under the heading “The Java Platform and Programming Language,” as well
17       as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
18   x   Publicly available documents with information regarding the development of the Android
19       Platform, including the information disclosed in paragraphs 11 through 17 of the
20       counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
21       Handset Alliance and Development of the Android Platform.”
22   x   Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
23       heading “Android and the Java Programming Language” of Google’s Answer and
24       Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
25       GOOGLE-00320077.
26          Google further states that, as reflected in Oracle’s Patent Local Rule 3-1 disclosures,
27   Oracle was aware of Android pursuant to discussions with Andy Rubin prior to Android’s
28   acquisition by Google, which are believed to have occurred at least as early as 2005. Google

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                  DEFENDANT GOOGLE INC.’S RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE.
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 1   further states that Oracle was aware of Android and the Open Handset Alliance, at least as early
 2   as November 2007, as reflected by Jonathan Schwartz’s public comments congratulating Google
 3   and the Open Handset Alliance on the announcement of Android. Nevertheless, Oracle waited
 4   several years before bringing suit, while the Android market grew and while Google and
 5   numerous handset manufacturers and other entities made significant investments in the Android
 6   Platform. Google further states that Oracle’s actions, including statements and actions of its
 7   predecessor Sun encouraging use of the Java programming language, form the basis of Google’s
 8   defenses involving waiver, estoppel and laches. Google has a reasonable belief that the
 9   discovery it requested will reveal additional evidence to support this defense and reserves the
10   right to supplement this response accordingly.
11   INTERROGATORY NO. 5:
12          Please explain the factual and legal bases for Google’s pleading of its fourth affirmative
13   defense: Substantial Non-Infringing Uses (Patent).
14   RESPONSE:
15          In addition to its General Objections, Google objects to this Interrogatory as it seeks
16   information protected by the attorney-client privilege, the work product doctrine, and/or any
17   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
18   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
19   information. Google further objects to the request to “explain” factual bases as vague and
20   ambiguous. Google further objects to any implication in this Interrogatory that Google has any
21   burden beyond what is required by any applicable statute or case law. Inclusion of Oracle’s
22   allegations in the list of facts in this response does not mean that Google agrees with the veracity
23   of the allegation, but merely references the fact that particular allegations were made. Google
24   expressly maintains all objections made in responsive pleadings. Google further objects to this
25   Interrogatory as unnecessary in view of the specific disclosures contemplated by the Patent Local
26   Rules as well as premature at least because claim terms have not been construed and any
27   response herein is made in view of the lack of certainty with respect to the resolution of the
28   meaning of claim terms.

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 1   and design constraints); elements that have entered the public domain; and/or elements that are
 2   subject to a limited number of forms of expression due to functional or other considerations. In
 3   addition, any similarities between any protectable elements of the Asserted Works and the
 4   Android Platform are, at most, de minimis and not actionable. Google has served Interrogatories
 5   to obtain further details regarding Oracle’s copyright allegations and requires complete responses
 6   to those Interrogatories to respond more completely to this Interrogatory. Google therefore
 7   reserves the right to supplement this response accordingly.
 8   INTERROGATORY NO. 10:
 9          Please explain the factual and legal bases for Google’s pleading of its eleventh
10   affirmative defense: Copyright Unenforceability (Waiver, Estoppel, Laches).
11   RESPONSE:
12          In addition to its General Objections, Google objects to this Interrogatory as it seeks
13   information protected by the attorney-client privilege, the work product doctrine, and/or any
14   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
15   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
16   information. Google further objects to the request to “explain” factual bases as vague and
17   ambiguous. Google further objects to any implication in this Interrogatory that Google has any
18   burden beyond what is required by any applicable statute or case law. Google further objects to
19   any implication that the theories of copyright unenforceability included under this heading in
20   Google’s Answer and Counterclaims necessarily share common factual or legal bases. Google
21   further objects to extent that certain factual contentions involved in the pleading of these theories
22   were made “upon information and belief,” that after a reasonable opportunity for further
23   investigation, Google would likely have evidentiary support. Google has made discovery
24   requests related to this defense but has not yet received responsive information. Inclusion of
25   Oracle’s allegations in the list of facts in this response does not mean that Google agrees with the
26   veracity of the allegation, but merely references the fact that particular allegations were made.
27   Google expressly maintains all objections made in responsive pleadings.
28          Subject to the foregoing objections and the General Objections, without waiver or

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                  DEFENDANT GOOGLE INC.’S RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE.
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 1   limitation thereof, Google states that the following facts relevant to this defense were in its
 2   possession or accessible to Google at the time it pleaded this defense in its Answer and
 3   Counterclaims:
 4   x   Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
 5   x   Facts contained or cited in Google’s Motion to Dismiss (Doc. #33).
 6   x   Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
 7   x   Allegations contained in Oracle’s Opposition to Google’s Motion to Dismiss (Doc. #40).
 8   x   Publicly available information relating to the Asserted Works including the documents
 9       produced at GOOGLE-00319933 through GOOGLE-00320071.
10   x   Publicly available documents with information regarding the statements and actions of
11       Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
12       paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
13       Counterclaims under the heading “The Java Platform and Programming Language,” as well
14       as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
15   x   Publicly available documents with information regarding the development of the Android
16       Platform, including the information disclosed in paragraphs 11 through 17 of the
17       counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
18       Handset Alliance and Development of the Android Platform.”
19   x   Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
20       heading “Android and the Java Programming Language” of Google’s Answer and
21       Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
22       GOOGLE-00320077.
23          Google further states that, as reflected in Oracle’s Patent Local Rule 3-1 disclosures,
24   Oracle was aware of Android pursuant to discussions with Andy Rubin prior to Android’s
25   acquisition by Google, which are believed to have occurred at least as early as 2005. Google
26   further states that Oracle was aware of Android and the Open Handset Alliance, at least as early
27   as November 2007, as reflected by Jonathan Schwartz’s public comments congratulating Google
28   and the Open Handset Alliance on the announcement of Android. Nevertheless, Oracle waited

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                  DEFENDANT GOOGLE INC.’S RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE.
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 1   several years before bringing suit, while the Android market grew and while Google and
 2   numerous handset manufacturers and other entities made significant investments in the Android
 3   Platform. Google further states that Oracle’s actions, including statements and actions of its
 4   predecessor Sun encouraging use of the Java programming language, form the basis of Google’s
 5   defenses involving waiver, estoppel and laches. Google has a reasonable belief that the
 6   discovery it has requested will reveal additional evidence to support this defense and reserves the
 7   right to supplement this response accordingly.
 8          Google further states that, upon information and belief, Oracle knew at least as early as
 9   May 2005 that elements of the Android Platform were made publicly available by the Apache
10   Software Foundation under the terms of the Apache Software License version 2.0 and were
11   necessary to allow for interoperability. Upon information and belief, Oracle has never pursued
12   any claim against the Apache Software Foundation or accused the materials created by the
13   Apache Harmony Project of infringement and it is a publicly known fact that many members of
14   the software development community have relied upon the availability of software code
15   embodied in the Apache Harmony Project materials under the terms of the Apache Software
16   License version 2.0 and used or distributed that code under those terms. Google has a reasonable
17   belief that the discovery it has requested will reveal additional evidence to support this defense
18   and reserves the right to supplement this response accordingly.
19   INTERROGATORY NO. 11:
20          Please explain the factual and legal bases for Google’s pleading of its twelfth affirmative
21   defense: Fair Use.
22   RESPONSE:
23          In addition to its General Objections, Google objects to this Interrogatory as it seeking
24   information protected by the attorney-client privilege, the work product doctrine, and/or any
25   other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
26   as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
27   information. Google further objects to the request to “explain” factual bases as vague and
28   ambiguous. Google further objects to any implication in this Interrogatory that Google has any

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 1   INTERROGATORY NO. 15:
 2          Please explain the factual and legal bases for Google’s pleading of its seventeenth and
 3   eighteenth affirmative defenses: License and Implied License.
 4   RESPONSE:
 5          In addition to its General Objections, Google objects to this Interrogatory as an explicit
 6   multiple-part Interrogatory going to two different defenses and the following objections refer to
 7   both distinct requests. Google further objects to this multi-part Interrogatory as seeking
 8   information protected by the attorney-client privilege, the work product doctrine, and/or any
 9   other applicable privilege, immunity, or protection. Google further objects to this multi-part
10   Interrogatory as unduly burdensome as it is not reasonably calculated to lead to the discovery of
11   admissible information. Google further objects to the request to “explain” factual bases as vague
12   and ambiguous. Google further objects to any implication in this multi-part Interrogatory that
13   Google has any burden beyond what is required by any applicable statute or case law. Google
14   further objects to extent that certain factual contentions involved in the pleading of these
15   defenses were made “upon information and belief” that, after a reasonable opportunity for further
16   investigation, Google would likely have evidentiary support. Google has served discovery
17   requests related to these defenses but has not yet received responsive information. Inclusion of
18   Oracle’s allegations in the list of facts in this response does not mean that Google agrees with the
19   veracity of the allegation, but merely references the fact that particular allegations were made.
20   Google expressly maintains all objections made in responsive pleadings. Google further objects
21   to this multi-part Interrogatory as unnecessary with respect to the defenses as they pertain to
22   patent in view of the specific disclosures contemplated by the Patent Local Rules.
23          Subject to the foregoing objections and the General Objections, without waiver or
24   limitation thereof, Google states that the following facts relevant to this defense were in its
25   possession or accessible to Google at the time it pleaded these defenses in its Answer and
26   Counterclaims:
27   x   Allegations contained in Oracle’s Complaint and Exhibits (Doc. #1).
28   x   Facts contained or cited in Google’s Motion to Dismiss (Doc. #33).

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 1    x   Allegations contained in Oracle’s Amended Complaint and Exhibits (Doc. #36).
 2    x   Allegations contained in Oracle’s Opposition to Google’s Motion to Dismiss (Doc. #40).
 3    x   Publicly available information relating to the Asserted Works including the documents
 4        produced at GOOGLE-00319933 through GOOGLE-00320071.
 5    x   Allegations contained in presentation materials received from Oracle pursuant to Rule 408 of
 6        the Federal Rules of Evidence.
 7    x   The patents-in-suit and their prosecution histories.
 8    x   Publicly available documents with information regarding the statements and actions of
 9        Oracle and its predecessor Sun Microsystems, Inc. including the information disclosed in
10        paragraphs 1 through 10 of the counterclaims asserted in Google’s Answer and
11        Counterclaims under the heading “The Java Platform and Programming Language,” as well
12        as the information produced at GOOGLE-00305323 through GOOGLE-00305769.
13    x   Publicly available documents with information regarding the development of the Android
14        Platform, including the information disclosed in paragraphs 11 through 17 of the
15        counterclaims asserted in Google’s Answer and Counterclaims under the heading “The Open
16        Handset Alliance and Development of the Android Platform.”
17    x   Facts relating to the market for Android as disclosed in paragraphs 20 through 22 under the
18        heading “Android and the Java Programming Language” of Google’s Answer and
19        Counterclaims. These facts are publicly available, see, e.g., GOOGLE-00320072 through
20        GOOGLE-00320077.
21           Google further states that, as presently understood, Oracle’s allegations are directed
22    toward one or more functionalities that are likely licensed by alleged direct infringers for at least
23    some Accused Instrumentalities. Because Oracle has not specified with precision the Accused
24    Instrumentalities and alleged direct infringers, Google cannot respond more completely to this
25    Interrogatory. By way of example, certain of Oracle’s allegations with regard to the ‘520 patent
26    include its own program, javac, as a component of the allegation. Upon information and belief,
27    Google expects discovery to reveal that at least some alleged direct infringers are licensed to use
28    that program. Until Oracle identifies on a claim by claim basis the identity of alleged direct

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 1    infringers performing each step of each claim and Google receives information regarding
 2    Oracle’s licenses, Google cannot respond more completely to this Interrogatory.
 3           Google further states that in the absence of an explicit license to asserted patents and
 4    copyrights, Google and other purported infringers are entitled to an implied license based on
 5    Oracle’s actions, including statements and actions of its predecessor Sun. Google has a
 6    reasonable belief that the discovery it has served will reveal additional evidence to support this
 7    defense and reserves the right to supplement this response accordingly.
 8           Google further states that, upon information and belief, Oracle knew at least as early as
 9    May 2005 that elements of the Android Platform were made publicly available by the Apache
10    Software Foundation under the terms of the Apache Software License version 2.0 and were
11    necessary to allow for interoperability. Upon information and belief, Oracle has never pursued
12    any claim against the Apache Software Foundation or accused the materials created through the
13    Apache Harmony Project of infringement and it is a publicly known fact that many members of
14    the software development community have relied upon the availability of software code
15    embodied in the Apache Harmony materials under the terms of the Apache Software License
16    version 2.0 and used or distributed that code under those terms. Google has a reasonable belief
17    that the discovery it has requested will reveal additional evidence to support this defense and
18    reserves the right to supplement this response accordingly.
19    INTERROGATORY NO. 16:
20           Please explain the factual and legal bases for Google’s pleading of its nineteenth
21    affirmative defense: Unclean Hands.
22    RESPONSE:
23           In addition to its General Objections, Google objects to this Interrogatory as it seeking
24    information protected by the attorney-client privilege, the work product doctrine, and/or any
25    other applicable privilege, immunity, or protection. Google further objects to this Interrogatory
26    as unduly burdensome as it is not reasonably calculated to lead to the discovery of admissible
27    information. Google further objects to the request to “explain” factual bases as vague and
28    ambiguous. Google further objects to any implication in this Interrogatory that Google has any

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                   DEFENDANT GOOGLE INC.’S RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE.
                                     CIVIL ACTION NO. CV 10-03561-WHA
     Case 3:10-cv-03561-WHA Document 922-2 Filed 04/15/12 Page 12 of 12



 1    DATED: January 6, 2011                      KING & SPALDING LLP
 2

 3                                                By: /s/ Scott T. Weingaertner

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                DEFENDANT GOOGLE INC.’S RESPONSES TO PLAINTIFF’S INTERROGATORIES, SET ONE.
                                  CIVIL ACTION NO. CV 10-03561-WHA
